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Pro Se 7 (Rev. 09/16) Complaint for Employment Discrimination



                                       UNITED STATES DISTRICT COURT
                                                                 .-·.·
                                                                                                                 F\LED
                                                                        for the                                    MAR , 9 202,
                                                                       District of                                           TRICTCOURT
                                                                                                            UNITED STATES DIS0r= GEORGlr\
                                                                                                             MIDDLE D\SiR\CT     Appendix   D

                                                                           )
                                                                                  Case No.        , ..o. \-c_~- 3\,)
                                                                                                 (to be filled in by the Clerk's Office)
                                                                           )
                                                                           )
                              P laintiff(s)
(Write the full name of each plaintiff who is filing this complaint.       )
                                                                                                             D              0

                ,.
If the names of all the plaintiffs cannot fit in the space above,          )      Jury Trial: (check one)          Yes           No
please write "see attached" in the space and attach an additional          )
page with the full list of names.)
                                 -v-
                                                                           )
                                                                           )
                                                                           )
                                                                           )
     /iome Oe(h±              Defendant(s)
                                                                           )
                                                                           )
(Write the full name of each defendant who is being sued. If the           )
names of all the defendants cannot fit in the space above, please          )
write "see attached" in the space and attach an additional page            )
with the full list of names.)



                              COMPLAINT FOR EMPLOYMENT DISCRIMINATION


I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                               Name
                               Street Address
                               Citv and Countv
                               State and Zin Code
                               Telenhone Number                         S'CJ -2 lS - 701 3
                               E-mail Address


          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.



                     Defendant No. 1
                            Name
                            .Job or Title Mknnwn)
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                               Street Address
                               Citv and Countv
                               State and Zin Code
                               Telenhone Numher
                               E-mail Address Mknnwn)


                     Defendant No. 2
                            Name
                            .Toh or Title      Mknnwn)

                               Street Address
                               Citv and Countv
                               State and Zin Code
                               Telenhone Numher
                               E-mail Address (ifknnwn)


                     Defendant No. 3
                            Name
                            .Toh or Title      Mknnwn)

                               Street Address
                               Citv and Countv
                               State and Zin Code
                                Telenhone Numher
                                E-mail Address (ifknnwn)


                     Defendant No. 4
                            Name
                            .Toh or Title      (ifknnwn)

                                Street Address
                                Citv and Countv
                                State and Zin Code
                                Teleohone Number
                                E-mail Address (ifknnwn)


           C.         Place of Employment

                      The address at which I sought employme nt or was employed by the defendant(s) is

                                Name
                                Street Address
                                City and County
                                 State and Zip Code
                                 Telephone Number               2zq- 6 ZJ , usa
                                                                 31
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II.       Basis for Jurisdiction

          This action is brought for discrimination in employment pursuant to (check all that apply):

                  n               Title VII of the Civil Ri!!hts Act of 1964. as codified. 42 U.S.C. && 2000e to 2000e-l 7 (race.
                                  color. !!ender. reli!!ion. national ori!!in).

                                  (Note: In order to bring suit in federal district court under Title VII, you must first obtain a
                                  Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

                  n               A!!e Discrimination in Emolovment Act of 1967. as codified. 29 U.S.C. && 621 to 634.

                                  (Note: In order to bring suit in federal district court under the Age Discrimination in
                                  Employment Act, you must first file a charge with the Equal Employment Opportunity
                                  Commission.)


                  n               Americans with Disabilities Act of 1990. as codified. 42 U.S.C. && 12112 to 12117.

                                  (Note: In order to bring suit in federal district court under the Americans with Disabilities
                                  Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
                                  Opportunity Commission.)

                                  Other federal law (specify the federal law):

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                                                                                                                              c,w. f{tfJ-       PJ   ~
                                                                                                                          .
                  •               Relevant state law (specify, if known):


                  D               Relevant city or county law (specify, if known):




III.       Statement of Claim
                                                                                                                        the
           Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible
                                                                                        sought. State how each defendant  was
           facts showing that each plaintiff is entitled to the damages or other relief
           involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs  rights, including
                                                                                                                          and
           the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim
           write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

           A.         The discriminatory conduct of which I complain in this action includes (check all that apply):

                              D            Failure to hire me.
                              [u/'         Termination of my employment.
                              D            Failure to promote me.


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                             D            Failure to accommodate my disability.
                            ~             Unequal terms and conditions of my employment.
                            D             Retaliation.

                            CT             Other acts (specijy): Hc.;,me         /Jib t
                                                                                    I.> '1 n~ftro ~,de LoMA/Jf .S'tl/orf.S ;;~,, ·-II;.,
                                          (Note: Only those grounds raised in the charge filed with the Equal Employment     J:xYI
                                         Opportunity Commission can be considered by the federal district court under the
                                         federal employment discrimination statutes.)


        B.          It is my best recollection that the alleged discriminatory acts occurred on date(s)

                       ff-/q- 2lllo                    1·- 2-Z62D
        C.           I believe that defendant(s) (check one):
                             n            is/are still committing these acts against me.
                             ~            is/are not still committing these acts against me.

        D.           Defendant(s) discriminated against me based on my (check all that apply and explain):
                             ~            race

                             •            color

                             •            gender/sex

                             •            religion

                             •             national origin

                             •             age (year of birth)                    (only when asserting a claim of age discrimination.)

                             •             disability or perceived disability (specijy disability)




        E.           The facts of my case are as follows. Attach additional pages if needed.
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                     (Note: As additional support/or the/acts ofyour claim, you may attach to this complaint a copy of
                     your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
                     relevant state or city human rights division.)




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IV.     Exhaustion of Federal Administrative Remedies

        A.          It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
                    my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
                    on (date)
                         ll- l,l)lD
        B.          The Equal Employment Opportunity Commission (check one):
                                           has not issued a Notice of Ri!!ht to Sue letter.
                                           issued a Notice of Ri!!ht to Sue letter. which I received on (date)     2-J )· Z/
                                          (Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
                                          Opportunity Commission to this complaint.)


        C.           Only litigants alleging age discrimination must answer this question.

                     Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
                     regarding the defendant's alleged discriminatory conduct (check one):


                             n             60 davs or more have elaosed.
                             n             less than 60 davs have elaosed.


V.      Relief

        State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
        arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
        amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
        or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
        money damages.             Tha      {OIYJfrlJf     Ji fee~       cldtn(\11/J'f/fd   t,nd    /,kt)        c/oc-1);/e    cJr/Joftic/c;
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           (qyc,).


VI.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: (I) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and ( 4) the complaint otherwise complies with the
         requirements of Rule 11.


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        A.          For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.

                    Date of signing:


                    Signature of Plaintiff
                    Printed Name of Plaintiff

        B.          For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                    Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




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